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a ck Gary Scurka, Producer
we oO oe oe -Winner-
Columbia duPont Silver
Baton

The Polk Award

lavestigative Reporters &
Editor's

Tom Renner Award
Two Time Recipient IRE

FOIA REQUEST tl
November 21, 2003 ead
Ref. #FN-6 The National Press Club
To: FOIA Officer afd .
Atta: BG (P) Benjamin C. Freakley, Commander, Fort Benning Emmy Award Winner
Attn: Colonel! Ricardo R. Riera, Garrison Commander
Copy: Staff Judge Advocate, Building 5, . Ed Caraballo, Producer
Department of the Army 3 time Emmy Award Winner
6751 Constitution Loop, 6th Floor, Suite 650
For Benning, GA 31905-4500
Phone: 706/545-5111
VIA Facsimile: 706/545-1215

Dear Sirs and Madam,

This is an immediate request for records under the Freedom of Information Act (5 USC §5352-
“FOIA” laws) of the United States of America. We are journalists currently working on a story
of public interest. We also request that no email be destroyed or deleted until such time as this
request is complied, with, or until such time as the entire appeal process is s completed i in the event
that any request is denied.

We are a media organization and request a waiver of fees for this request because disclosure of
the requested information is in the public interest because it is likely to contribute significantly to
_ the public interest of DOD operations, and is not in a commercial interest. However, we are

_ willing to pay any fees associated with the request. Please notify us in writing if our waiver is
tummed down, and/or if the fees associated with this request exceed $100.

- The FOIA information requested is attached hereto as Exhibit A. Additionally, we are requesting .
_ through FOIA, the entire digital contents of the computer used by Colonel Robert Morris, and
currently being held by LTC Anne Norfolk in your command.

To save the costs and workload associated: with reproduction, electronic copies are acceptable on
diskette or CD in any format that can be read by Microsoft Word. Thank you for your assistance.

Ed Caraballo

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EXHIBIT A

Please provide copies of any of the following documents, to include copies of all
emails. To save the costs and workload associated with reproduction, electronic. copies
are acceptable on diskette or CD in any format that can be read by Microsoft Word.

REQUEST NO. I:

All documents which refer to and/or discuss one or more of the following from
September 2001 to the present:

1. J. Keith Idema,
2. ak.a. Jack Idema,
3. aka. "Jack" (of Afghanistan)
4. a.k.a."Jack”.
5. Viktoria RunningWolf
6. a.k.a. Viktoria Idema.
7. ak.a. “Victoria”
8. Edward A. Artis
9. Ed Artis
10. Knightsbridge
11. Knightsbridge International.
12. Knightsbridge International Humanitarian Relief and Human Improvement Programs,
Inc.
13. Joseph A. Cafasso
14. Joe Cafasso
15. Partners International
. 16. Partners International Foundation
17. Dave Kildee
18. Ariana Film.
19, Yousuf Janessar
20. Timothy Connolly
21.Gary Kolb
22. Larry Plesser
23. al Qaida Training Videotapes
24. al Qaeda Training Videotapes
25. Getty Images, with respect to Idema and/or al Qaida Training Videotapes.
26. William Morris Agency, (and Wayne K.abak), with respect to Idema and/or al Qaida
Training Videotapes. .
27. The book The Hunt for Bin Laden
28. Robin Moore

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REQUEST NO. 2:

All documents received from or transmitted to any one of the following persons
(including, without limitation, from or at the following respective email addresses), from
September 2001 to the present:

Robert Morris (Agentx@gnat.net)

J. Keith Idema

a.k.a. Jack Idema

a.k.a. "Jack" (of Afghanistan)

a.k.a.” Jack”

Viktoria RunningWolf

a.k.a. Viktoria Idema

a.k.a. “Victoria”

Edward A. Artis

10. Ed Artis

11. Knightsbridge

12. Knightsbridge International (Knightsbrg@aol.com, Knishtsbridge@aol com)
13. Knightsbridge International Humanitarian Relief and Human Improvement Programs,

WPI Awe Wm

Inc.
14. Joseph A. Cafasso (Joe. cafasso@foxnews.com, Poppingsmoke@aol. com,
Alpha235@aol.com) —

15. Joe Cafasso

16. Partners International - .
17. Partners International Foundation
18. Dave Kildee (Dkildee@yahoo.com)

. 19. Ariana Film

20. Yousuf Janessar
21. Timothy Connolly (Connolly@peabody-sherman. org)

22. Gary Kolb

23. Larry Plesser

24. al Qaida Training Videotapes

25. al Qaeda Training Videotapes

26. Getty Images, with respect to Idema and/or al Qaida Training Videotapes.

27. William Morris Agency, (and Wayne Kabak), with respect to Idema and/or al aia
Training Video Tapes.

28. The book The Hunt for Bin Laden

29. Robin Moore

REQUEST NO. 3:

All documents prepared, received from, or sent by any one of the following persons
regarding J. Keith Idema, a.k.a. Jack Idema, a.k.a. "Jack", and/or the al Qaida Training
Videotapes, The Hunt for Bin Laden book (including, without limitation, at or from the
following respective email addresses):

OR NAAR EEE

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Roger Ailes

Dianne Brandi

Joe Cafasso (joe. cafasso@foxnews. com)
Samuel DeSantis

Fox & Friends

Brit Hume

Kim Hume

Amy Keilogg

. Madeline Klosterman (madeline. klosterman@foxnews.com)
10. Kevin McGee .

11. John Moody

12. The O'Reilly Factor (&. Bill O” Reilly)

13. Julia Rolle —

14. Tony Snow

15. Linda Vester (linda. vester@foxnews. com)
16. Jonathan Wachtel

REQUEST NO. 4: |

All documents regarding Fox News Channel or.any Fox News Show.

REQUEST NO. 5:
All documents received from or sent to:

Major Gary M. Kolb, USASOC Office of Public Affairs
Major Gowan, USASOC Office of Public Affairs
Major Scott Stearns, USASOC Office of Public Affairs
Brian Sutton, USASOC Office of Public Affairs

Fox News, or any Fox News employee or agent

Joe Cafasso

Edward Artis

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REQUEST NO. 6:

All transcripts, tapes, and. other documents of reports prepared for Fox News Channel

- on or about December 2001, whether broadcast or not, regarding the incident at Kandahar in

which J.D. Davis and others lost their lives in the service of our country.

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REQUEST NO. 7:
Alt documents evidencing, discussing, or referring to al Qaida Training Videotapes. |
REQUEST NO. 8:

All proposals, pitches, treatments, scripts, show histories, story slugs, pre-production
and production documents, videotapes, and other documents and writings by any contributor
to Fox News Network, including but not limited to Fox & Friends and The O’Reilly Factor,
which discuss or refer to or constitute an interview, of or about any of the following:

. J. Keith Idema
. Edward Artis

. Bob Morris
. al Qaida Training Videotapes

1
2
. 3. Joe Cafasso
4
5

REQUEST NO. 9:

All consulting agreements and employment contracts between Robert Morris and Fox
News. oe

REQUEST NO. 10:

All documents discussing or referring to, or transmitted to or received from, Fox .
News, on or after September 11, 2001.

REQUEST NO. 11:

All copies of all phone records or. appropriate documents that detail the long
distance telephone calls made to the following numbers from the military phone of
Colonel Morris 706/545-9624 (and also his Fort Knox phone) for the period of November
1, 2001 until today:

Beginning with the area code and prefix: 2 12/312
212/398-8726 Fox Fax (Klosterman)
318/372-6002 Artis

818/716-9494 Artis Fax

818/903-9945 Artis Mobile

732/541/7733 Cafasso New Jersey —

732/54 1/8663 Cafasso New Jersey.

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8. 401/521/9558 Cafasso Mobile (?)

9. 202/824-6385 Cafasso@Fox =
10. 877/704-1354 Cafasso pager
11.877/709-1354 Cafasso pager

12. 202/824-6499 Cafasso Fax
13.202/824-6363 Cafasso Fox voicemail
14. 813/827-4885 unknown
15.202/419-0474 unknown

16. 212/301/3075 Chris Silvestri (Fox)
17.212/391/4818 Chris Silvestri (Fox Fax)

_ REQUEST NO. 12:

Ali e-mails sent to or received from any Fort Benning or Fort Knox e-mail
account, as wells as any or all documents, hard copy of electronic, official or unofficial,
for the period of November I, 2001 to the present that pertain to:

Robin Moore
Any matters involving J. Keith Idema —
Any matters regarding Edward Artis:
Any matters regarding Joseph Cafasso
-Any matters regarding FOX News
Any matters regarding al-Qaida {al- ~Qaeda) terrorist training tapes

AWAY

